            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 1 of 29



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

TAP PILAM COAHUILTECAN        §
NATION, SAN ANTONIO MISSIONS  §
CEMETERY ASSOCIATION,         §
RAYMOND HERNANDEZ             §
                              §
     Plaintiffs,              §
                              §
vs.                           §                   CIVIL ACTION NO. 5:19-cv-1084
ALAMO TRUST, INC, DOUGLASS W. §
MCDONALD, CEO OF THE ALAMO §
TRUST, TEXAS GENERAL LAND     §
OFFICE AND GEORGE P. BUSH,    §
COMMISSIONER OF THE GENERAL §
LAND OFFICE OF THE STATE OF   §
TEXAS AND THE TEXAS           §
HISTORICAL COMMISSION, CITY   §
OF SAN ANTONIO, TEXAS         §
     Defendants.              §



     PLAINTIFFS’ ORIGINAL COMPLAINT AND REQUEST FOR INJUNCTION


TO THE HONORABLE COURT:

         NOW COMES Tap Pilam Coahuiltecan Nation, San Antonio Missions Cemetery

Association, and Raymond Hernandez, the Plaintiffs, complaining of Douglass W. McDonald,

Chief Executive Officer of the Alamo Trust, Inc. (hereinafter, “ALAMO CEO”) and Alamo

Trust, Inc (hereinafter, “ATI”), Texas General Land Office (hereinafter, “GLO”) and George P.

Bush, Commissioner of the General Land Office of the State of Texas (hereinafter,

“COMMISSIONER BUSH”), and The Texas Historical Commission (hereinafter, “THC”), and

The City of San Antonio, Texas (hereinafter, “COSA”), the Defendants, and for causes of action

shows:
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 2 of 29



                                   A.     INTRODUCTION

1.     This case is a civil rights action brought under the First and Fourteenth Amendments

to the United States Constitution and 42 U.S.C. § 1983, challenging Defendant’s restriction

on Plaintiffs’ right to participate in the human remains protocols adopted by the Defendants.

Specifically, Plaintiff Tap Pilam Coahuiltecan Nation (hereinafter, “TPCN”) is a tribal

community of American Indians who trace their ancestry to the Spanish Colonial Missions of

Texas and Northeastern Mexico, including Mission San Antonio de Valero, which is also known

as “The Alamo.”     Plaintiff Raymond Hernandez is an enrolled member of the Tap Pilam

Coahuiltecan Nation who is a direct descendant of ancestors from Mission San Antonio de

Valero and serves on the Tribal Counsel of the Nation. Plaintiff San Antonio Missions Cemetery

Association is a nonprofit association of lineal descendants of those buried in the San Antonio

Missions Cemeteries, including the Mission San Antonio de Valero Cemetery. Plaintiffs are the

next of kin and the ancestors to the remains buried at the Alamo Mission.


2.     All similar and related projects currently and, in the recent past, have utilized human

remains protocols that allowed the Tap Pilam Coahuiltecan Nation to participate as next of kin.

However, in this case, Defendants have selectively applied and interpreted federal laws, not

applicable to the project by their own admission, in a manner that only grants access to federally

recognized Indian tribes and ignore other federal laws and the City of San Antonio’s Unified

Development Code. Specifically, the City’s UDC mandates procedures and protocols under 36

CFR Part 800 of the National Historic Preservation Act, which requires the participation of next

of kin and Indian tribes regardless of federal recognition. Such arbitrary decisions to pick and

choose which laws to apply is not only confusing, but was calculated to exclude the Tap Pilam




                                                                                                2
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 3 of 29



Coahuiltecan Nation from participating on the Archaeological Committee established by the

GLO and ATI which developed the human remains protocols on the project.


3.     Further, the Defendants are publicly stating that there is no cemetery located at the

Alamo. This assertion is intellectually dishonest and being used solely to skirt federal, state and

local laws designed to protect historic cemeteries. It is common knowledge that every Spanish

Colonial Mission established and maintained a cemetery, and there is ample evidence that a

cemetery was established and continues to exist at the Alamo. In fact, the surviving burial book

of Mission San Antonio de Valero contains over 1,300 entries. Most of these burials are of

American Indians, but the book also records burials of Presidio Soldiers, settlers and servants of

various racial categories. Further, the “Alamo Cemetery” was recorded in 2005 in the Bexar

County Cemetery Survey as Cemetery ID BX-C299 and appears on the THC Historic Sites as

and Archaeology Sites Atlases as Cemetery ID BX-C299 occupying the totality of the current

Alamo Plaza. In addition, on or about October 15, 2018, the TPCN and the San Antonio

Missions Cemetery Association filed a Notice of the Existence of an unknown or abandoned

Cemetery in the Real Property Records of Bexar County, Texas. Further, on or about October 30,

2018, Plaintiffs submitted a Historical Texas Cemetery Application for the Mission San Antonio

de Valero Cemetery (“Application”) to the Texas Historical Commission, which was granted on

May 10, 2019, resulting in a Declaration of Dedication by the THC filed in the Real Property

Records of Bexar County stating that “The Texas Historical Commission, an agency of the State

of Texas, does hereby certify and declare: that a cemetery deemed worthy of recognition for its

historic associations…has been recognized by the Texas Historical Commission as a Historic

Texas Cemetery…” and included a map of the cemetery which includes all of Alamo Plaza and

the Alamo Chapel. Defendants’ absurd stance that a cemetery does not exist at the Alamo is



                                                                                                 3
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 4 of 29



solely an attempt to skirt the Texas Health and Safety Code, the City’s Unified Development

Code and federal statutes which protect cemeteries and require the notification and inclusion of

next of kin in the archaeological process at such sites. There is no doubt that the Defendants are

purposely making spurious claims to exclude the Plaintiffs from the process at all costs.


4.    Defendant Texas Historical Commission has issued archaeological permits for similar

projects in the past that required archival and boundary delineation studies for digs at cemeteries.

Specifically, the THC has always required a cemetery boundary delineation study to find the

boundaries of historic cemeteries and an archival study to determine the historical significance of

a cemetery prior to allowing digging at the site. In this case, the THC acknowledged the need for

more study but did not require it, placing the Alamo cemetery at risk. The THC’s arbitrary

decision is unconstitutionally vague and ambiguous as it excludes the study when they have

always required it in the past.


5.    It should also be pointed out that Plaintiffs were denied the use of the Alamo Chapel for

religious ceremony. The Alamo Chapel has been a place of religious practice for the Mission

Indian community for many years.        TPCN, members of the Yanaguana Tap Pilam Native

American Church of the Americas, and various Christian denominations have been conducting

an annual Sunrise Memorial Ceremony in the Alamo Chapel during La Semana de Recuerdos

(Week of Remembrances) held each September. Specifically, on September 7, 2019, Plaintiffs

TPCN and Raymond Hernandez were denied permission to gather inside the Alamo Chapel for a

prayer service which has been a tradition allowed by the Alamo for the past 24 years, despite

allowing tourists and members of the public to enter.




                                                                                                  4
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 5 of 29



6.     Plaintiffs seek a declaration that Defendant violated their clearly established

constitutional rights as set forth in this Complaint; a declaration that Defendants’ actions to

exclude the Plaintiffs from participating in the Archaeology Committee of the Human Remains

Protocol violates the United States Constitution and 42 U.S.C. § 1983 as set forth in this

Complaint; Defendants actions to prevent Plaintiffs from exercising their religion violates clearly

established constitutional rights as well as the Texas Religious Freedom Act and the American

Indian Religious Freedom Act of 1978 (“AIRFA”). Plaintiffs further seek a preliminary and

permanent injunction enjoining the enforcement of Defendants’ policy to exclude the Plaintiffs

from the Human Remains Protocol Process as set forth in this Complaint; and nominal damages

for the past loss of Plaintiffs’ constitutional rights. Plaintiffs also seek an award of reasonable

costs of litigation, including attorneys’ fees and expenses, pursuant to 42 U.S.C. § 1988 and

other applicable law.


                                        B.     PARTIES

7.     Plaintiff Tap Pilam Coahuiltecan Nation, is an Indian tribe headquartered at 1313

Guadalupe St., San Antonio, Texas 78207.

8.     Plaintiff San Antonio Missions Cemetery Association is a Texas nonprofit corporation

located at 1313 Guadalupe St., Suite 104, San Antonio, Texas 78207.

9.     Plaintiff Raymond Hernandez is an individual residing at 273 Nicks Road, Comfort,

Texas 78013.

10.    Defendant Alamo Trust, Inc., a Texas nonprofit corporation, which may be served with

summons at its registered agent, Capitol Corporate Services, Inc., located at 206 E. 9th Street,

Suite 1300, Austin, TX 78701-4411.




                                                                                                 5
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 6 of 29



11.     Defendant Douglass W. McDonald, is sued in his official capacity as the CEO of the

Alamo Trust and may be served by personal delivery of the summons to 300 Alamo Plaza, San

Antonio, Texas 78205.


12.     Defendant the Texas General Land Office is an administrative agency of the State of

Texas. Service of process may be accomplished by personal delivery of the summons to

Commissioner George P. Bush, at 1700 N. Congress Ave., Suite 935, Austin, Texas 78701-1495.


13.     Defendant George P. Bush is sued in his official capacity as Commissioner of the Texas

General Land Office. Service upon Commissioner Bush may be accomplished by personal

delivery of the summons to him, at 1700 N. Congress Ave., Suite 935, Austin, Texas 78701-

1495.


14.     Defendant Texas Historical Commission is an administrative agency of the State of Texas

and may be served by delivering, in person, the summons to its chairman John L. Nau, III or its

executive director Mark Wolfe at 1511 Colorado Street, Austin, Texas 78701.

15.     Defendant City of San Antonio is a home rule municipality located primarily in Bexar

County, Texas and may be served by personal delivery of the summons to Mayor Ron

Nirenberg, at 115 Plaza de Armas, 2nd Floor, San Antonio, Texas 78205.

                               C.     JURISDICTION/VENUE

16.     This action arises under the Constitution and laws of the United States. Jurisdiction is

conferred on this Court pursuant to 28 U.S.C. §§ 1331 and 1343 as well as 42 U.S.C. § 1996

otherwise known as The American Indian Religious Freedom Act (“AIRFA”).


17.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§

2201 and 2202, by Rules 57 and 65 of the Federal Rules of Civil Procedure, and by the general


                                                                                              6
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 7 of 29



legal and equitable powers of this Court. Plaintiffs’ claim for nominal damages is authorized by

42 U.S.C. § 1983. Pendent claims arise under the Texas Civil Practices and Remedies Code

section 110, also known as the Texas Religious Freedom Act.


18.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events

or omissions giving rise to Plaintiffs’ claims occurred in this district. Venue is also proper under

Texas Natural Resources Code §191.173 because Plaintiffs are seeking restraining orders and

injunctive relief to restrain and enjoin violations or threatened violations of the Texas Antiquities

Code.

                                D.      BACKGROUND/FACTS


19.     This case stems from the initiative by the City of San Antonio (“COSA”), Alamo Trust,

Inc. and the Texas General Land Office (“GLO”) to redevelop Alamo Plaza and the surrounding

area, including the San Antonio de Valero Mission (“Alamo”), officially known as the Alamo

Redevelopment Plan (hereinafter, “Alamo Plan”).


20.     As a part of the process to redevelop the Alamo Complex, the grounds surrounding the

Alamo Chapel will be transformed by extensive construction that is required by the Alamo Plan.

The Alamo Plan calls for the construction of a museum, the lowering of the grade of the existing

plaza, relocating the Alamo Cenotaph, reconstructing the cannon ramps from the 1836 battle,

planting over 100 trees and adding concrete sidewalks and various other renovations.


21.     On or about 2014, the COSA established the twenty-one member Alamo Citizens

Advisory Committee (“ACAC”) to “create a vision and guiding principles for the redevelopment

of Alamo Plaza and the surrounding area, and assisting in the development of the scope of work

for a request for qualifications (RFQ) for development of a master plan for the Alamo area.”


                                                                                                   7
               Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 8 of 29



Ramon Vasquez, a member of the Tap Pilam Coahuiltecan Nation (“TPCN”) was appointed by

San Antonio Mayor Julian Castro to serve on the ACAC as the Mayor’s Representative for the

history and archeological category.


22.    On or about December 2014, the COSA adopted the Guiding Principles developed by the

Citizens Advisory Committee that included the cemetery protections. See attached protocol as

Exhibit “A”.


23.    On October 15, 2015, the San Antonio City Council executed a cooperative agreement

among the GLO, Alamo Endowment Board, and the City of San Antonio regarding the Joint

Master Plan for the Alamo Historic District and the Alamo Complex. The Agreement outlines

the roles and responsibilities of each party as well as the management and oversight structure for

the master plan’s development and adoption. The agreement established the Vision and Guiding

Principles developed by the ACAC as the foundation for the Master Plan and expanded the

Committee’s membership.


24.    Mr. Vasquez, serving on the ACAC, repeatedly raised the issue of the existence of the

Mission San Antonio de Valero Cemetery (“Cemetery”) at the Alamo complex and the

applicability of the City of San Antonio’s Unified Development Code.


25.    Further, in the summer of 2016, TPCN provided on site tribal monitors for the first

excavation at the Alamo under the Alamo Plan. In July 2016, the TPCN were asked by the

COSA, Alamo Trust and GLO to bless the Alamo Chapel and project. Later that summer, human

remains were discovered in an archeological dig on the Alamo Complex. The remains were

turned over by a City Archeologist to TPCN for reinterment on the Alamo Complex where they

were discovered.


                                                                                                8
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 9 of 29



26.    On April 17, 2017 Mr. Vasquez submitted human remains protocols to the Alamo Plan

consultants, at their request, which included TPCN representation as the culturally affiliated

tribal community. However, things took a dark turn at the end of 2017. Specifically, Douglas

McDonald assumed control of the Alamo Plan and the project began to deviate from its initial

course with respect to protections for the cemetery and its compliance with federal, state and

local regulations


27.    On August 27, 2018, Mr. Vasquez sent the entire ACAC, THC, COSA, GLO, National

Park Service, and Alamo Trust a letter addressing concerns that the required regulatory processes

regarding cemeteries had not been built into the COSA lease agreement with GLO and advising

them to do so. See letter attached as Exhibit “B”.


28.    On October 5, 2018 Raymond Hernandez, Tribal Council Member of the TPCN,

submitted concerns to the Historic Design and Review Committee of COSA (“HDRC”) that

cemetery protection laws, including the National Historic Preservation Act, were not being

followed by the GLO and Alamo Trust. See letter attached as Exhibit “C”


29.    On October 18, 2018 the THC confirmed in a letter to Mr. Vasquez that the “Alamo

Cemetery” was recorded in 2005 in the Bexar County Cemetery Survey as Cemetery ID BX-

C299 and appears on the THC Historic Sites and Archaeology Sites Atlases as occupying the

totality of the current Alamo Plaza. The letter also addressed concerns regarding cemetery

protections by concluding that they cannot be fully addressed until a “comprehensive

archeological and archival study” is conducted. See letter attached as Exhibit “D”.


30.    As a result of the change in policy to exclude cemetery protections and standard

archaeological practices, the Plaintiffs became concerned as the Alamo and the grounds


                                                                                               9
           Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 10 of 29



surrounding it contains a historically documented mission cemetery that includes the remains of

many ancestors of the Tap Pilam Coahuiltecan Nation, other federally recognized tribes, Spanish

soldiers, Canary Islander settlers, African settlers, Mexican soldiers, Battle of the Alamo

Defenders and even a former provincial Governor of Texas. In fact, the burial book of the

Mission San Antonio de Valero contains over 1,300 entries. As a result of the concerns, on or

about October 15, 2018, the TPCN and the San Antonio Missions Cemetery Association filed a

Notice of the Existence of Abandoned or Unknown Cemetery in the Real Property Records of

Bexar County, Texas. See Real Property records attached hereto as Exhibit “E”.


31.    Sec. 35-634 of the City of San Antonio’s Unified Development Code entitled

“Cemeteries” states that: “All applicants for permits, excluding burial permits, affecting

cemeteries shall be referred to the city historic preservation officer for the purpose of

determining whether or not the cemetery is historically, culturally, architecturally, or

archaeologically exceptional or significant. If the cemetery is determined by the city historic

preservation officer to be exceptional or significant, any proposed change, excluding burials,

must be presented to the historic and design review commission for approval of planned work. If

a court of competent jurisdiction has granted permission for cancelation or destruction of such

cemetery, any plans for new construction must be approved thereafter by the historic and design

review commission before construction commences. The historic and design review commission

shall be governed in its recommendations by regulations set forth in Texas state law for

cemeteries excluding burial permits.” This procedure is necessary to avoid, minimize or mitigate

any adverse effects on cemeteries such as the Cemetery at the Alamo. Defendants’ have failed to

follow this provision and continue to publicly deny the existence of a cemetery at the Alamo

Complex despite ample evidence.



                                                                                             10
               Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 11 of 29



32.    Further, Sec. 35-633(a) of the City of San Antonio’s Unified Development Code states

that: “In evaluating archeological studies and treatment plans for archeological sites, the historic

preservation officer and the HDRC will apply the criteria for effect to, and significance of,

archeological sites in the Antiquities Code of Texas and in the regulations of the National

Advisory Council on Historic Preservation, treatment of archeological properties under authority

of the executive director of the Advisory Council, National Historic Preservation Act, and

Executive Order 11593.” Put simply, the City of San Antonio’s Unified Development Code not

only requires certain steps and plans to mitigate adverse effects to historical and archeological

sites, it mandates that the National Historical Preservation Act procedures applies. The Act

requires certain individuals, such as the Plaintiffs, the opportunity to participate in the process.

Such plans and procedures are necessary to seek ways to avoid, minimize or mitigate any

adverse effects on projects such as the Alamo Plan. At this stage of planning all Parties operated

under the premise that all local, state and federal rules related to archaeological sites and

cemeteries applied. In 2016, Mr. Vasquez and the TPCN were tasked with assisting the Alamo

Plan consultants with developing the Native American history portion of the Alamo Plan. On

December 23, 2016, at the request of Alamo Plan consultants, Mr. Vasquez submitted a proposal

for development of the Alamo Narrative on the site, which highlights the families who descend

from the Alamo Mission and are current members of the TPCN. See proposal attached hereto as

Exhibit ‘F”.


33.     Further, on or about October 30, 2018, Plaintiffs submitted a Historical Texas Cemetery

Application for the Mission San Antonio de Valero Cemetery (“Application”). See application

attached hereto as Exhibit “G”.




                                                                                                 11
               Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 12 of 29



34.    On or about January 24, 2018, the Application was heard by the Antiquities Advisory

Committee of the THC. Alamo Trust filed a letter with the THC asking that the designation be

denied for the reason that “there was no Historic Cemetery on the Alamo property.” The

Commissioners discussed the Application and decided to “table” and NOT reject the Application

and tasked that the THC staff to work with Plaintiffs to better define the cemetery’s boundaries

and bring back a recommendation for consideration. See letter denying a cemetery exists

attached as Exhibit “H”.


35.    On or about January 26, 2019, Plaintiffs contracted with GTI Environmental, LLC, a

professional archeological consulting firm, to generate a report citing the archival, archeological

and historical evidence of the boundaries of the Mission Cemetery. See report attached hereto as

Exhibit “I”.


36.    On or about February 6, 2019, Ramon Vasquez, authorized representative of the

Plaintiffs, met with THC staff in Austin to discuss next steps. In attendance were Jenny

McWilliams, Charles Sadnick and Carylin Hammons. Also, Holly Houghton, Tribal Historic

Preservation officer for the Mescalero Apache Tribe, whom also have historic ties with the

Mission but no known ancestors, attended at the Plaintiff’s request.


37.    On February 8, 2019, the THC sent a letter to Alamo Trust with regard to the human

remains protocols filed with the Antiquities Permit that “many of the actions proposed in this

draft, including leaving unintentionally encountered interments in situ and/or moving remains to

another designated space, require a designated “cemetery” as defined in the Health and Safety

Code Chapter 711.011[4]” and that THC recommended that ALAMO TRUST and GLO assist in

the effort to define the Mission Valero/Alamo Cemetery boundaries and develop a



                                                                                                12
                Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 13 of 29



comprehensive human remains treatment plan that includes a cemetery management plan that

complies with the state law. See letter attached hereto as Exhibit “J”.


38.        On or about February 9, 2019, Ramon Vasquez, Tap Pilam Tribal Council member Linda

Ximenes and Tap Pilam Tribal member Sonia Jimenes, met with Victoria Gonzales, the Senior

Policy Advisor for San Antonio Mayor Ron Nirenberg, Kay Hindes, City of San Antonio

Archaeologist, and Rhea Roberts representing the City Manager of the City of San Antonio.

Mrs. Gonzales informed them that the Mayor authorized the City Archaeologist to work with

Tap Pilam Coahuiltecan Nation and the San Antonio Missions Cemetery Association to define

the boundaries per the THC mandate.


39.        Shortly thereafter, Plaintiffs received correspondence from Carylin Hammons, current

THC staffer, encouraging the Plaintiffs to limit the boundaries of the application only to the

Alamo Chapel and not the grounds. See letter attached hereto as Exhibit “K”.


40.        Plaintiffs also received correspondence from Mark Denton, former Senior Lead Reviewer

of the THC that stated that in his professional opinion the mission cemetery boundaries should

be:


           “Houston Street to Crocket Street for the north/south boundaries, the back (east side) of

           the chapel as the eastern boundary line and the street curve immediately west of the

           Campo Santo1 as the western boundary”.


This opinion closely models that originally requested in Plaintiffs’ Application. See letter

attached hereto as Exhibit “L”.



1
    Campo Santo is a colonial-era Spanish term for cemetery, literally “holy ground”.


                                                                                                 13
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 14 of 29



41.     On or about February 19, 2019, Ramon Vasquez, Tap Pilam Tribal Council Member,

Raymond Hernandez, Tap Pilam Tribal member and Researcher, Izel Lopez met with Kay

Hindes, City of San Antonio’s Archaeologist and Rhea Roberts, City of the San Antonio City

Manager’s Office in order to update them regarding the position of Carylin Hammons trying to

limit the boundaries of the Mission Cemetery to the Alamo Chapel alone and excluding the

remainder of the documented Mission Cemetery. Hindes stated that she believed the boundaries

for the Cemetery should include the inside of the Chapel, the area in front of the Chapel and in

front of the Federal Post Office on Houston Street, which are in line with the Plaintiffs’ original

Application and the opinion of Mark Denton.


42.     On or about March 11, 2019, Ramon Vasquez emailed Charles Sadnick of the THC

informing him that the San Antonio Mayor had instructed the City Archaeologist to work with

Plaintiffs to define the Mission Cemetery Boundaries and that this process would be completed

in time for the July 2019 quarterly meeting of the THC. Sadnick responded that the THC “looks

forward to receiving your resubmission, and our staff remains on hand to assist”. See email

attached as Exhibit “M”.


43.     On or about March 14, 2019, Mr. Vasquez after repeated requests and denial for

inclusion on the Archaeological Advisory Committee under the Human Remains Protocols

adopted by the GLO/ATI, received an email response from Casey Hanson of the THC stating:


        “the Alamo is not a Federal Agency and the project has no Federal hook so there is no

        reason that the ACHP2 should have been notified about the project. If they were notified,

        the ACHP could not and would not agree to be a consulting party because this is not
2
  The Advisory Council on Historic Preservation (ACHP) is an independent federal agency that promotes the
preservation, enhancement, and productive use of our nation's historic resources, and advises the President and
Congress on national historic preservation policy.


                                                                                                            14
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 15 of 29



       Section 106 and there is no Federal Agency to advise. Similarly, the ACHP would never

       make the decision for or against including any consulting party. I don’t think they are

       being truthful. As far as I know the Alamo and the GLO are making the decisions and I

       am not aware of anyone with the authority besides those entities that make those

       decisions. In my opinion, if they do not include you, as a representative of one of the

       major descendant communities, then the committee is a complete sham.”


See letter attached hereto as Exhibit “N”.


44.    On or about March 29, 2019 Plaintiffs were notified by Charles Sadnick that the GLO

submitted a competing application for Historic Cemetery Designation that included only the

Alamo Chapel. Admitting for the first time of the existence of the Cemetery at the Alamo, this

was a dramatic reversal by the GLO who could no longer hold the intellectually dishonest

position that no such cemetery exists. However, the extremely narrow boundary definition was

strategically designed to achieve their goal of not complying with local, state and federal laws

protecting cemeteries and archaeological sites on the project. See Application attached hereto as

Exhibit “O”.


45.    Further, on or about April 1, 2019, the Plaintiffs received a report from GTI

Environmental, LLC which shows ample evidence that the boundaries of the Mission Cemetery

extend outside the walls of the Alamo Chapel, including a burial site for non-baptized Indians

outside of the walls of the Mission. See Report attached hereto as Exhibit “I”.


46.    It should be pointed out that while the Plaintiffs were being excluded by GLO/Alamo

Trust from the Archaeological Advisory Committee on the Alamo Plan, TPCN and other lineal

descendant groups, were engaged by the COSA to participate on the Maverick Plaza/La Villita


                                                                                              15
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 16 of 29



Project and to develop its human remains protocols. The Maverick Plaza site is the 2nd location

of Mission San Antonio de Valero and is historically and archaeologically similar to the Alamo

Complex, which is the 3rd location of Mission San Antonio de Valero. The Maverick Plaza site is

physically located just a few blocks south of the Alamo Complex. The Human Remains

Protocols on the Maverick Plaza project state “Historic burials and cemeteries, including Native

American burials and cemeteries, shall be treated in accord with provisions of Chapters 711 and

715 of the Health and Safety Code.” TPCN is currently actively participating on the Maverick

Plaza project.


47.    On May 10, 2019, the THC approved the Historic Cemetery Designation for the Mission

San Antonio de Valero Cemetery. A Declaration of Dedication was filed by the THC in the Real

Property Records of Bexar County stating that “The Texas Historical Commission, an agency of

the State of Texas, does hereby certify and declare: that a cemetery deemed worthy of

recognition for its historic associations…has been recognized by the Texas Historical

Commission as a Historic Texas Cemetery…” and included a map of the cemetery which

includes all of Alamo Plaza and the Alamo Chapel. See attached hereto as Exhibit ‘P”.


48.    On July 9, 2019, ACAC received a copy of human remains protocols adopted for the

Alamo Plan which officially created the Alamo Mission Archaeology Advisory Committee

(“AMAAC”). The protocol was alarming as it specifically excluded reference to the City of San

Antonio’s Unified Development Code which mandates that the National Historical Preservation

Act procedures apply to the process which requires certain individuals such as the Plaintiffs in

this case the opportunity to participate in the human remains protocol process. Specifically, the

Protocol adopted for the Alamo Plan (“Human Remains Protocol”) created a committee of only

federally recognized Indian tribes and excludes the Plaintiffs by making an arbitrary statement


                                                                                              16
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 17 of 29



that they are voluntarily applying the Native American Graves Protection Act (“NAGPRA”). It

should be noted that the Mission San Antonio de Valero Cemetery is not a Native American

burial ground. It is a Catholic Cemetery, consecrated according to the Canon Law of the

Catholic Church and has never been deconsecrated.          It contains the remains of baptized

American Indians, Spanish and Mexican settlers/soldiers and the Defenders of the Battle of the

Alamo (1836). In this way Defendants have weaponized NAGPRA to exclude the American

Indians most represented in the burials of Mission San Antonio de Valero, the descendants of the

Spanish and Mexican settlers and soldiers and the descendants of the Alamo Defenders. To add

insult to injury, among the federally recognized tribes allowed on the AMAAC are ones who are

historically responsible for the deaths of many of those buried in the Mission San Antonio de

Valero cemetery. Furthermore, most of the federally recognized tribes allowed on the AMAAC

lack any historic connection to Mission San Antonio de Valero and some have very different

funerary practices and beliefs regarding burials than Plaintiffs. mPut simply, the Defendants are

ignoring the City of San Antonio’s Unified Development Code and arbitrarily applying

NAGPRA for the purpose of excluding the Plaintiffs and other lineal descendants from

participation. The reason for this is obvious, the Defendants are planning to conduct their

archaeological activities in a manner that violates local, state and federal laws in an attempt to

reduce cost and time. See Human Remains Protocol Attached hereto as Exhibit “Q”.


49.    In addition, the Human Remains Protocol specifically states that it will follow the State

of Texas cultural resources laws and laws regarding human remains as defined by the Texas

Health and Safety Code. However, as stated above, the Defendants have consistently denied that

a cemetery exists at the Mission, which is intellectually dishonest as experts, archaeologists as

well as any reasonable person would conclude that Missions maintain cemeteries especially with



                                                                                               17
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 18 of 29



the history of the Alamo.


50.     It should also be pointed out that the Alamo Plan purposefully excludes any possibility to

discover human remains as the plan only calls for 18 inches of excavation on Alamo Plaza where

most burials are located, when the actual sub grade is 6 feet deep. By intentionally digging

above interments the Defendants have violated Texas Natural Resources Code §191.055(3)

which requires “all operations conducted under permits or contracts set out in Section 191.054 of

this code must be carried out…in such manner that the maximum amount of historic, scientific,

archaeological, and educational information may be recovered and preserved in addition to the

physical recovery of items.”


51.     The Plaintiffs motivation has always been to ensure that their ancestors’ remains are

treated respectfully and preserved in the like manner as the other projects stated above. It

appears that the Defendants want to ignore any issues of remains and fast track the project with

disregard for the interments and historic cemetery on the Alamo Complex. In fact, the week of

July 19, 2019, excavations under the new protocols began at the Alamo, with the GLO/ATI still

publicly denying the existence of a cemetery on the site. Therefore, Plaintiffs were compelled to

seek relief in this Court.


52.     Finally, on September 7, 2019, Plaintiffs were denied use of the Alamo Chapel for

religious purposes, and informed by Defendants that they would be excluded from the use of the

Alamo Chapel from this point forward, despite it having been used by the tribal community for

religious practice in the past.




                                                                                               18
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 19 of 29



                              E.     FIRST CLAIM FOR RELIEF

                           (Equal Protection—Fourteenth Amendment)

Plaintiffs hereby incorporate by reference all stated paragraphs.


53.     By reason of the aforementioned policy, created, adopted, and enforced under color of

state law, Defendants have unconstitutionally deprived Plaintiffs of the equal protection of the

law guaranteed under the Fourteenth Amendment to the United States Constitution and 42

U.S.C. § 1983, in that Defendants are preventing Plaintiffs from participating in the excavation

even though the members of the Tap Pilam Coahuiltecan Nation, San Antonio Missions

Cemetery Association and Raymond Hernandez are next of kin. Further, there is no doubt that

all other similar projects currently and, in the past, have utilized human remains protocols that

allowed the next of kin to participate. However, in this case Defendants have voluntarily adopted

NAGPRA and ignored the City of San Antonio’s Unified Development Code which mandates

procedures and protocols under 36 CFR Part 800 of the National Historic Preservation Act.

These actions deprive Plaintiffs of rights and privileges afforded them under local, state and

federal laws and discriminates against them based on their national origin. Such voluntary

selective application of NAGPRA results in the exclusion of Plaintiffs, who are next of kin and

entitled to participate.


54.     Further, the Defendants are publicly stating that there is no cemetery located at the

Alamo. This assertion is intellectually dishonest and being used solely to skirt federal, state and

local laws designed to protect historic cemeteries. It is common knowledge that every Spanish

Colonial Mission established and maintained a cemetery, and there is ample evidence that a

cemetery was established and continues to exist at the Alamo. In fact, the surviving burial book

of Mission San Antonio de Valero contains over 1,300 entries. Most of these burials are of


                                                                                                19
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 20 of 29



American Indians, but the book also records burials of Presidio Soldiers, settlers and servants of

various racial categories. Further, the “Alamo Cemetery” was recorded in 2005 in the Bexar

County Cemetery Survey as Cemetery ID BX-C299 and appears on the THC Historic Sites and

Archaeology Sites Atlases as occupying the totality of the current Alamo Plaza. In addition, on

or about October 15, 2018, the TPCN and the San Antonio Missions Cemetery Association filed

a Notice of Unknown or Abandoned Cemetery in the Real Property Records of Bexar County,

Texas. Further, on or about October 30, 2018, Plaintiffs submitted a Historical Texas Cemetery

Application for the Mission San Antonio de Valero Cemetery (“Application”) to the Texas

Historical Commission, which was granted on May 10, 2019, resulting in a Declaration of

Dedication by the THC filed in the Real Property Records of Bexar County stating that “The

Texas Historical Commission, an agency of the State of Texas, does hereby certify and declare:

that a cemetery deemed worthy of recognition for its historic associations…has been recognized

by the Texas Historical Commission as a Historic Texas Cemetery…” and included a map of the

cemetery which includes all of Alamo Plaza and the Alamo Chapel. Defendants’ absurd stance

that a cemetery does not exist at the Alamo is solely an attempt to skirt the Texas Health and

Safety Code, the City’s Unified Development Code and federal statutes which protect cemeteries

and require the notification and inclusion of next of kin in the archaeological process at such

sites. There is no doubt that the Defendants are purposely making spurious claims to exclude the

Plaintiffs from the process at all costs.


55.     Further, the Texas Historical Commission has issued permits for projects in the past and

required archival studies to find out about cemeteries. Specifically, the THC has always required

a cemetery boundary delineation study to discover the boundaries of cemeteries when they are

not known or in question. Specifically, Fort Bend Independent School District, Houston Texas;



                                                                                               20
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 21 of 29



Freedman’s Cemetery, Dallas Texas; Milam Park, San Antonio Texas; El Luceros Camposanto

Cemetery, Brownsville, Texas; Pioneer Cemetery Brazoria County, Texas; Texas Rangers

Museum, Waco Texas. In this case, the THC acknowledged the need for more study but did not

require it in violation of the Texas Antiquities Code.


56.    As a direct and proximate result of Defendants’ violation of the Equal Protection Clause

of the Fourteenth Amendment, Plaintiffs have suffered irreparable harm, including the loss of

their constitutional rights, entitling them to declaratory and injunctive relief and nominal

damages.


                               F. SECOND CLAIM FOR RELIEF

                                       (First Amendment)

Plaintiffs hereby incorporate by reference all stated paragraphs.


57.    As stated above, the Plaintiffs were denied the use of the Chapel for religious ceremony.

The Alamo Chapel has been a place of religious practice for the Mission Indian community for

many years. TPCN, members of the Yanaguana Tap Pilam Native American Church of the

Americas, Church of Oklahoma and various Christian denominations have been conducting an

annual Sunrise Memorial Ceremony in the Alamo Chapel during La Semana de Recuerdos

(Week of Remembrances) held each September. Specifically, on September 7, 2019, Plaintiffs

TPCN and Raymond Hernandez were denied permission to gather inside the Alamo Chapel for a

prayer service which has been a tradition allowed by the Alamo for the past 24 years, despite

allowing tourists and members of the public to enter.


58.    By reason of the aforementioned Free Speech Restriction, which includes Defendants’

Policy, created, adopted, and enforced under color of state law, Defendants have deprived



                                                                                             21
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 22 of 29



Plaintiffs of their right to engage in protected speech in a public forum in violation of the Free

Speech Clause of the First Amendment as applied to the states and their political subdivisions

under the Fourteenth Amendment to the United States Constitution and 42 U.S.C. § 1983.


59.    Defendant’s Free Speech Restriction, facially and as applied to Plaintiffs’ speech, is

content- and viewpoint-based in violation of the Free Speech Clause of the First Amendment.


60.    Defendants’ Free Speech Restriction operates as a prior restraint on Plaintiffs’ speech;

therefore, it comes to this Court bearing a heavy presumption against its constitutional validity.


61.    Defendants’ Free Speech Restriction, facially, and as applied to Plaintiffs’ speech, is

unreasonable and an effort to suppress expression merely because public officials oppose the

speaker’s view, including the view expressed by Plaintiffs.


62.    Defendants’ Free Speech Restriction, facially and as applied to Plaintiffs’ Speech,

offends the First Amendment by granting a public official unbridled discretion such that the

official’s decision to limit speech is not constrained by objective criteria, but may rest on

ambiguous and subjective reasons.


63.    Defendants’ Free Speech Restriction, facially and as applied to Plaintiffs’ speech,

provides no objective guide for distinguishing between permissible and impermissible speech in

a non-arbitrary, viewpoint-neutral fashion as required by the First Amendment.


64.    In addition, the Defendants deny to the Plaintiffs the right to the free exercise of religion

without unreasonable restraints.




                                                                                                 22
               Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 23 of 29



65.     As a direct and proximate result of Defendants’ violation of the First Amendment,

Plaintiffs have suffered irreparable harm, including the loss of their constitutional rights, entitling

them to declaratory and injunctive relief and nominal damages.


                              G.      THIRD CLAIM FOR RELIEF

                                   (Texas Freedom of Religion Act)

Plaintiffs hereby incorporate by reference all stated paragraphs.


66.     Sec. 110.003 RELIGIOUS FREEDOM PROTECTED. (a) Subject to Subsection (b), a

government agency may not substantially burden a person’s free exercise of religion. (b)

Subsection (a) does not apply if the government agency demonstrates that the application of the

burden to the person:


        (1) is in furtherance of a compelling governmental interest; and


        (2) is the least restrictive means of furthering that interest.


67.     As stated above, there is no doubt that the Defendants have denied Plaintiffs any

involvement regarding the remains of their ancestors by only allowing federal recognized tribes

to participate in the process, deny a cemetery exists, and by not requiring delineation and

archaeological studies when issuing a permit. Plaintiffs have been punitively denied the use of

the Alamo Chapel to hold their prayer service for their ancestors who died at the Mission and are

buried there. Such actions by the Defendants have substantially burdened Plaintiffs free exercise

of religion.




                                                                                                    23
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 24 of 29



                           H.      FOURTH CLAIM FOR RELIEF

                           (Due Process—Fourteenth Amendment)

Plaintiffs hereby incorporate by reference all stated paragraphs.


68.    By reason of the aforementioned denial of a cemetery, failure to recognize proper

protocols and laws that have been followed on all past projects and that are currently being

followed on other projects similar to the Alamo Project, are no doubt crafted to exclude the

Plaintiffs from participating in the human remains protocol and the project. Such actions to

change procedures and decisions solely for the purpose to exclude Plaintiffs from participating is

not only repulsive but amounts to Defendants’ Policy which was created, adopted, and enforced

under color of state law, Defendants have unconstitutionally deprived Plaintiffs of the due

process of law guaranteed under the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. § 1983.


69.    It is a basic principle of due process that a regulation is void for vagueness if its

prohibitions are not clearly defined. Defendants’ restrictions to exclude the Plaintiffs as part of

the human remains protocols in place facially and as applied to Plaintiffs offends the Fourteenth

Amendment’s guarantee of due process by granting a public official unbridled discretion such

that the official’s decision to limit Plaintiffs’ involvement in the process is not constrained by

objective criteria, but may rest on ambiguous and subjective reasons. Defendants’ denial of the

Plaintiffs’ participation in the project facially and as applied to Plaintiffs is unconstitutionally

vague in violation of the Fourteenth Amendment.




                                                                                                 24
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 25 of 29



70.    As a direct and proximate result of Defendants’ violation of the Due Process Clause of

the Fourteenth Amendment, Plaintiffs have suffered irreparable harm, including the loss of their

constitutional rights, entitling them to declaratory and injunctive relief and nominal damages.


                             I.     FIFTH CLAIM FOR RELIEF

                                     Declaratory Judgment

71.    Plaintiffs request a Declaratory Judgment that a cemetery exists at the Alamo Complex

site, that the Texas Health and Safety Code, and that the City of San Antonio’s Unified

Development Code applies to the project.

                             J.     SIXTH CLAIM FOR RELIEF

              Injunctive Relief under Texas Natural Resources Code § 191.173

72.    Plaintiffs request Injunctive Relief under Texas Natural Resources Code § 191.173 to

prevent Defendants from violating provisions of the Texas Antiquities Code that prohibit the

archaeological practices being employed by Defendants to evade discovery and excavation of the

historic cemetery at the Alamo Complex.

                          K.      SEVENTH CLAIM FOR RELIEF

                         The American Indian Religious Freedom Act

73.    The American Indian Religious Freedom Act (AIRFA) 42 U.S.C. § 1996 protects the

rights of Native Americans to exercise their traditional religions by ensuring access to sites, use

and possession of sacred objects, and the freedom to worship through ceremonials and traditional

rites. The purpose of the AIRFA is to protect and preserve for American Indians their inherent

right to freedom to believe, express, and exercise the traditional religions of the American

Indian, Eskimo, Aleut, and Native Hawaiians, including but not limited to access to sites, use and




                                                                                                  25
             Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 26 of 29



possession of sacred objects, and the freedom to worship through ceremonials and traditional

rites.

74.      As stated above, Plaintiff Tap Pilam Coahuiltecan Nation is a tribal community of

American Indians who trace their ancestry to the Spanish Colonial Missions of Texas and

Northeastern Mexico, including Mission San Antonio de Valero, which is also known as “The

Alamo.” Plaintiffs are the next of kin and the ancestors to the remains buried at the Alamo

Mission.

75.      Plaintiffs were denied the use of the Chapel for religious ceremony. The Alamo Chapel

has been a place of religious practice for the Mission Indian community for many years. TPCN,

members of the Yanaguana Tap Pilam Native American Church of the Americas, Church of

Oklahoma and various Christian denominations have been conducting an annual Sunrise

Memorial Ceremony in the Alamo Chapel during La Semana de Recuerdos (Week of

Remembrances) held each September. Specifically, on September 7, 2019, Plaintiffs TPCN and

Raymond Hernandez were denied permission to gather inside the Alamo Chapel for a prayer

service which has been a tradition allowed by the Alamo for the past 24 years, despite allowing

tourists and members of the public to enter.

                                        L.     DAMAGES

76.      As a direct and proximate result of Defendants’ conduct, Plaintiffs have suffered

irreparable harm, including the loss of their constitutional rights, entitling them to declaratory

and injunctive relief and nominal damages.

                                   M.        ATTORNEY FEES

77.      It was necessary for the Plaintiffs to secure the services of Adrian A. Spears II and Art

Martinez de Vara to pursue this matter and to file and litigate this lawsuit. Should Plaintiffs

prevail in this matter, Plaintiffs respectfully request that the Court award reasonable and


                                                                                               26
            Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 27 of 29



necessary attorney’s fees and costs incurred in prosecuting this suit as permitted under 42 U.S.C.

§ 1988 and other applicable law.

                                          N.         PRAYER

WHEREFORE, the Plaintiffs request that the Defendants be cited to appear and answer, and that

on final trial, the Plaintiffs have the following:

 A)    to declare that Defendants violated the First and Fourteenth Amendments to the United

       States Constitution as set forth in this Complaint;


 B)    to declare that a cemetery exists at the Alamo Complex site, that the Texas Health and

       Safety Code, and the City of San Antonio’s Unified Development Code applies to the

       project.


 C)    to declare that defendants have violated Sec. 110.003 of the Texas Religious Freedom

       Protection Act.


 D)    to declare that Defendants violated The American Indian Religious Freedom Act

       (AIRFA) 42 U.S.C. § 1996


 E)    to preliminarily and permanently enjoin Defendants 1)from violating Plaintiffs’ free

       speech and free exercise of religion; (2) from excluding Plaintiffs’ from the Human

       Remains Protocol, as set forth in this Complaint; (3) from proceeding with construction

       until the Plaintiffs’ are included in the project; (4) from violating provisions of the Texas

       Antiquities Code that prohibit the archaeological practices being employed by

       Defendants to evade discovery and excavation of the historic cemetery at the Alamo

       Complex.




                                                                                                 27
         Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 28 of 29



F)   to award Plaintiffs nominal damages for the past loss of their constitutional rights as set

     forth in this Complaint;


G)   to award Plaintiffs their reasonable attorneys’ fees, costs, and expenses pursuant to 42

     U.S.C. § 1988 and other applicable law; and


H)   to grant such other and further relief as this Court should find just and proper.


                                                   Respectfully submitted,

                                                   MARTINEZ DE VARA LAW FIRM,
                                                   PLLC

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                                                                                             28
Case 5:19-cv-01084 Document 1 Filed 09/10/19 Page 29 of 29
